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THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF ILLINOIS

EAST ST. LOUIS, ILLINOIS

ST. CLAIR COUNTY, ILLINOIS, Case No.: 21-CV-251

Plaintiff,

Vs.

MCKINSEY & COMPANY, INC.

AND

NAHEED T. BASHIR, M.D.,

Defendant

 

 

MOTION TO DISMISS pursuant to FRCP 12(b)

Comes now defendant, Naheed T Bashir MD. And moves the honorable Court to dismiss the

plaintiff's complaint on the following grounds.

1. The allegations as stated in the complaint against the defendant are vague and ambiguous.

2. The allegations do not state a claim on which relief can be granted to the plaintiffs.
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Defendant has been mentioned in the following paragraphs of the complaint: 195, 209,

oe)

219,222,231, 233,:and 235,

4. A bare reading of the allegations stated in the complaint reflect no mention of any patient
or prescription. The complaint is based upon the false assumptions which makes is
impossible for the defendant to answer the vague and assumed allegations with the facts

from the records kept in defendants office.

WHEREOF the defendant respectfully prays to the court to dismiss the plaintiff's
complaint with cost and grant defendant any other appropriate relief as deemed fit by the

court.

Respectfully submitted
ALL?

Naheed Bashir MD

2115 CLAIRMONT DR

BELLEVILLEIL 62221

(618)-233-7055

Naheeedtbashir@hotmail.com

Defendant

Certificate of service

It is certified that a copy has been served electronically to the parties.

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By and through

Talat M Bashir

Attorney at law

License no 6197940
(618)-954-9099
Talat4321(@hotmail.com

Attorney for defendant
